           Case5:15-cr-00226-EJD Document59 Filed08/24/15 Page1 of 3



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 5
     Counsel for Defendant, DOUGLAS STORMS YORK
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 8                              IN THE UNITED STATES DISTRICT COURT

 9                          FOR THE NORTHERN DISTRICT OF CALIFORNIA

10                                         SAN JOSE DIVISION

11

12   UNITED STATES OF AMERICA,             )              No. CR 15-00226 EJD
                                           )
13                     Plaintiff,          )              DEFENDANT YORK’S PROPOSED
                                           )              NEUTRAL STATEMENT
14                                         )
     vs.                                   )
15                                         )
                                           )
16                                         )
     DOUGLAS STORMS YORK,                  )
17                                         )              Trial Date: August 25, 2015
                       Defendant.          )
18   _____________________________________ )              Honorable Edward J. Davila

19

20           Defendant Douglas Storms York, by and through Assistant Federal Public Defender Graham

21   Archer, submits this proposed neutral statement for the Court’s consideration in advance of the trial

22   set for August 25, 2015.

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     Def.’s Proposed Neutral Statement
     CR 15-00226 EJD                                  1
           Case5:15-cr-00226-EJD Document59 Filed08/24/15 Page2 of 3



 1                                        NEUTRAL STATEMENT

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 3           This is a felony criminal case brought by the United States government. The government

 4   charges Mr. Douglas York with (1) False Impersonation of an Employee of the United States in

 5   violation of 18 United States Code § 912; and (2) Telecommunications Device Harassment, a

 6   violation of 47 United States Code § 223(a)(1)(C).

 7           For count one, the government alleges that on or about February 23, 2012, in the Northern

 8   District of California, Mr. York falsely assumed and pretended to be an officer acting under the

 9   authority of, as an agent of the Internal Revenue Service, and in such assumed and pretended

10   character did act as such, that he falsely stated that he was an IRS agent investigating tax records.

11           For count two, the government alleges that on or about February 23, 2012, in the Northern

12   District of California, Mr. York, without disclosing his identity and with the intent to abuse,

13   threaten and harass a specific person, did make a telephone call and use a telecommunications

14   device in interstate and foreign communications, in that he left a voice mail message for Allan

15   Hessenflow stating that he was an IRS Agent named Judy Smith.

16           These two charges are simply allegations made by the government against the Mr. York;

17   they are not evidence of anything.

18           Mr. York has pleaded not guilty to both charges and is presumed innocent unless and until

19   proved guilty beyond a reasonable doubt. A defendant has the right to remain silent and never has

20   to prove his innocence or present any evidence. The government always carries the burden of proof

21   beyond a reasonable doubt.

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     Def.’s Proposed Neutral Statement
     CR 15-00226 EJD                                  2
         Case5:15-cr-00226-EJD Document59 Filed08/24/15 Page3 of 3



 1           At the end of the evidence I will instruct you on the law and the elements of each charge.

 2   It will be up to each of you to decide if the government has proven the charges to beyond a

 3   reasonable doubt. You should not make any judgments or decisions on Mr. York’s innocence or

 4   guilt until you have heard all of the evidence and I have instructed you on the law.

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 6   Dated: August 24, 2015                    Respectfully Submitted,

 7                                             ___/s/ ______________________________
                                               GRAHAM ARCHER
 8                                             Assistant Federal Public Defender

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     Def.’s Proposed Neutral Statement
     CR 15-00226 EJD                                  3
